18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 1 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 2 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 3 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 4 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 5 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 6 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 7 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 8 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 9 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 10 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 11 of 12
18-03197-FPC11   Doc 301   Filed 05/14/19   Entered 05/14/19 14:42:28   Pg 12 of 12
